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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7    JEFF YOUNG,                                          Case No. 4:17-cv-06252-YGR
                                                       Plaintiff,                            ORDER STAYING CASE AND SETTING
                                   8
                                                                                             COMPLIANCE DEADLINE
                                                v.
                                   9
                                        CREE INC.,                                           Re: Dkt. No. 142
                                  10
                                                       Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          The Court is in receipt of the parties’ jointly filed status report. (See Dkt. No. 142.) In

                                  14   light of the recently submitted Rule 23(f) petition, filed with the Ninth Circuit Court of Appeals by

                                  15   plaintiff Jeff Young, the parties jointly request a stay of this matter until resolution of the pending

                                  16   petition and possible related appeal. (Id.) Accordingly, for the good cause shown therein, the

                                  17   Court STAYS the case pending resolution of the Rule 23(f) petition and possible related appeal.

                                  18          Furthermore, the Court HEREBY SETS a compliance deadline for 9:01 a.m. on Friday,

                                  19   October 29, 2021. Five (5) business days prior to the date of the compliance deadline, the parties

                                  20   shall file a JOINT STATEMENT setting forth the status of the petition and the appeal, if applicable.

                                  21   If compliance is complete, the compliance deadline will be taken off calendar.

                                  22          IT IS SO ORDERED.

                                  23   Dated: February 23, 2021

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                                                                                                         YVONNE GONZALEZ ROGERS
                                  25                                                                    UNITED STATES DISTRICT JUDGE
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